                                           Case 4:20-cv-05381-HSG Document 196 Filed 04/05/22 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       JH KELLY, LLC,                                   Case No. 20-cv-05381-HSG
                                   8                    Plaintiff,                          ORDER SETTING BRIEFING
                                                                                            SCHEDULE FOR DISPOSITIVE AND
                                   9             v.                                         DAUBERT MOTIONS AND
                                                                                            CONTINUING PRETRIAL
                                  10       AECOM TECHNICAL SERVICES, INC.,                  CONFERENCE
                                  11                    Defendant.                          Re: Dkt. No. 193
                                  12
Northern District of California
 United States District Court




                                  13           Before the Court is Defendant AECOM Technical Services, Inc.’s (“AECOM”) request for
                                  14   leave to file a dispositive motion and three Daubert motions. Dkt. No. 193. Plaintiff JH Kelly,
                                  15   LLC (“JH Kelly”) agrees that a briefing schedule should be set for the Daubert motions, but it

                                  16   opposes the setting of a new dispositive motion deadline. Id. at 2. Having considered the matter,

                                  17   the Court finds good cause to alter the Scheduling Order and grants the parties leave to file the

                                  18   dispositive and Daubert motions identified in Docket No. 193. To that end, the Court sets the

                                  19   following schedule:

                                  20              1. Daubert and dispositive motions are due by April 14, 2022.1 All motions shall be

                                  21                  limited to 25 pages.

                                  22
                                       1
                                  23     To be clear, AECOM is granted leave to file three Daubert motions and a single dispositive
                                       motion addressing the three different components of JH Kelly’s damages claim (with the
                                  24   dispositive motion not to exceed 25 pages total). In this dispositive motion, AECOM shall
                                       identify which of its motions in limine will be mooted by a ruling on the motion. JH Kelly is
                                  25   granted leave to file four Daubert motions. Although JH Kelly has not identified the contents of
                                       the dispositive motion it “anticipates” filing, JH Kelly is also granted leave to file a single
                                  26   dispositive motion. See Dkt. No. 193 at 2 (“JHK’s positions are that it . . . opposes the setting of a
                                       new dispositive motion deadline and the filing of dispositive motions at this juncture in the case;
                                  27   however, in the event the Court allows dispositive motion practice, then JHK anticipates filing a
                                       dispositive motion.”). The Court encourages Plaintiff’s counsel to consider whether its motion
                                  28   meets the standards applicable at the summary judgment stage, and urges them not to file an
                                       obligatory motion simply because the other side did.
                                         Case 4:20-cv-05381-HSG Document 196 Filed 04/05/22 Page 2 of 2




                                   1            2. Oppositions to Daubert motions are due by April 21, 2022. All opposition briefs

                                   2                shall be limited to 25 pages.

                                   3            3. Oppositions to dispositive motions are due by April 28, 2022. All opposition briefs

                                   4                shall be limited to 25 pages.

                                   5            4. Reply briefs in support of dispositive motions only are due by May 5, 2022. All

                                   6                reply briefs shall be limited to 15 pages.

                                   7            5. All Daubert and dispositive motions will be heard at the Pretrial Conference, which

                                   8                is CONTINUED to May 31, 2022, at 11:00 a.m. The Pretrial Conference will be

                                   9                held in-person in Oakland, Courtroom 2, 4th Floor before the undersigned.

                                  10         This Order TERMINATES Docket. No. 193.

                                  11

                                  12         IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: 4/5/2022

                                  14                                                  ______________________________________
                                                                                      HAYWOOD S. GILLIAM, JR.
                                  15                                                  United States District Judge

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                       2
